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                         IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

 In re:

 PETE GOULD & SONS, INC.                                                   Case No. 18-20047
                                                                           Chapter 11
                  Debtor.
                                                 REPORT

          The Debtor files this Report to the U.S. Bankruptcy Court and to Robert Johns, Chapter 7

 Trustee.

          During the pendency of the Chapter 11 case, the Debtor was authorized to sell certain vehicles,

 as is shown on the attached Exhibit. These include Ford and Dodge pickup trucks.

          The Debtor was also permitted to sell certain pieces of equipment as set forth on Applications

 and Court Order on the docket.

          The Debtor also was subject to a foreclosure sale which occurred on October 1, 2019 at the

 Jackson County Courthouse. Farm Credit of the Virginias conducted a sale of the real property

 previously owned by the Debtor.

                                                          PETE GOULD & SONS, INC.

                                                          By Counsel



 /s/ Joseph W. Caldwell
 Joseph W. Caldwell, Esquire
 WV Bar No. 0586
 CALDWELL & RIFFEE, PLLC
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 Charleston, WV 25364
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PETE GOULD & SONS, INC.                                                Case No. 18-20047
                                                                       Chapter 11
               Debtor.

                                    CERTIFICATE OF SERVICE

         I, Joseph W. Caldwell, do hereby certify that I served the foregoing REPORT electronically upon
the following ustpregion04.ct.ecf@usdoj.gov and upon the following as set forth below by depositing a
true copy(s) thereof in the United States mail, postage prepaid, on this 8th day of September, 2020.

                                       Robert L. Johns, Esquire
                                        Turner & Johns PLLC
                                     216 Brooks Street - Suite 200
                                        Charleston, WV 25301




                                                       /s/ Joseph W. Caldwell
                                                       Joseph W. Caldwell
